
999 So.2d 1061 (2009)
STATE of Florida, Petitioner,
v.
Henry BLANTON, Respondent.
No. SC07-815.
Supreme Court of Florida.
January 15, 2009.
Bill McCollum, Attorney General, Tallahassee, FL, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, FL, for Petitioner.
James S. Purdy, Public Defender, and Brynn Newton, Assistant Public Defender, Seventh Judicial Circuit, Daytona Beach, FL, for Respondent.
LEWIS, J.
We have for review Blanton v. State, 956 So.2d 480 (Fla. 5th DCA 2007), in which the Fifth District Court of Appeal certified a question of great public importance. We have jurisdiction. See art. V, § 3(b)(4), Fla. Const.
We stayed proceedings in this case pending our disposition of Martinez v. State, 981 So.2d 449 (Fla.2008). When our decision in Martinez became final, we issued an order directing the parties to show cause why we should not exercise jurisdiction, quash the Blanton decision, and remand for reconsideration in light of our decision in Martinez. Upon consideration of the responses to our order, we have determined to exercise jurisdiction.
We accordingly grant the petition for review in the present case. The decision under review is quashed, and this matter is remanded to the Fifth District Court of Appeal for reconsideration upon application of this Court's decision in Martinez.
It is so ordered.
QUINCE, C.J., WELLS, PARIENTE, CANADY, and POLSTON, JJ., and ANSTEAD, Senior Justice, concur.
